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                                                   U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York



                                                      October 17, 2023

VIA ECF
The Honorable John P. Cronan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
       Re:     Reclaim the Records et al., v. U.S. Dep't of State, 23-cv-01650 (JPC)
Dear Judge Cronan:

       This Office represents the U.S. Department of State (the “Government” or “State
Department”) in the above-referenced action brought under the Freedom of Information Act. We
write to respectfully request a 45-day extension of the current briefing schedule for the
Government’s motion for summary judgment.

        The reason for this request is that the State Department needs additional time to put together
its declaration and materials in support of its motion. The proposed extensions are also necessary
to allow new counsel to acclimate to this matter, as the undersigned is set to be out of the office
for maternity leave beginning in early December. The Government therefore proposes extending
the briefing schedule as follows:

         •    Deadline for the Government’s motion for summary judgment extended from
              November 1, 2023 to December 18, 2023;
         •    Deadline for Plaintiffs’ opposition to the Government’s motion extended from
              December 13, 2023, to January 29, 2024; and
         •    Deadline for the Government’s reply to Plaintiff’s opposition extended from January
              12, 2024, to February 26, 2024.

       This is the Government’s first request for an extension of the summary judgment briefing
schedule. Plaintiffs consent to the Government’s request.

       We thank the Court for its consideration of this letter.


                                               Respectfully,


                                               DAMIAN WILLIAMS
                                               United States Attorney for the
                                               Southern District of New York
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